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                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                                   :       Chapter 11
                                                                    :
Inc.                                                                :       Case No. 19-11791 (BLS)
                                                                    :
LOOT CRATE, INC.                                                    :       Jointly Administered
                                                                    :       NOTICE OF APPOINTMENT OF
          Debtor.                                                   :       COMMITTEE OF UNSECURED
----------------------------------------------------------          :       CREDITORS



       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Something Inked, Attn: Oliver Landry, 1018 Elm Hill Pike, Nashville-Davidson, TN
                   37210, Phone: 615-946-1289; Fax: 615-499-4227

2.                 Worldpay, LLC, Attn: Ann Gabor, 8500 Governor’s Hill Road, Cincinnati, OH 45249-
                   1349, Phone: 678-587-1516

3.                 R.R. Donnelley, Attn: Robert Larson, 4101 Winfield Road, Warrenville, IL 60555, Phone:
                   (630) 322-6006; Fax: (630) 322-6873

4.                 K&S Specialty Products, Attn: Kyle Fitzpatrick, 25526 Hardy Pace, Stevenson Ranch, CA
                   91381, Phone: 661-755-2250

5.                 Just Funky, LLC, Attn: Rajnish Arora, 4160 Highlander Parkway, Suite 100, Richfield,
                   OH 44286; Phone: 234-249-0145

6.                 Major League Baseball Properties, Inc., Attn: Amy E. Gold, 245 Park Avenue, New
                   York, NY 10167; Phone: 212-485-4683

7.                 Brian Laibow, Attn: Brian Laibow, 573 Chapala Drive, Pacific Palisades, CA 90272;
                   Phone: 626-676-0710




                                                             ANDREW R. VARA
                                                             Acting United States Trustee, Region 3


                                                             /s/ David Buchbinder for
                                                             T. PATRICK TINKER
                                                             ASSISTANT UNITED STATES TRUSTEE

DATED: August 22, 2019

Attorney assigned to this Case: Benjamin Hackman, Esq., Phone: (302) 573-6491, Fax: (302) 573-6497
Debtors’ Counsel: Jamie Edmonson, Esq., Phone: (302) 516-1705, Fax: (302) 516-1699
